Case 1:23-cr-00118-DMT Document 41-1 Filed 12/06/23 Page 1 of 22

000194

Nit 223 E Broadway, Ste 301
Willig tas mata
SHERIEF'S OFFICE vasneitiomand core
YVerlan Kyande
Sheriff
Case SO-IR2302008 Printed on June 29, 2023
Status Approved
Report Type Incident
Primary Officer Justin Roberts
Investigator None
Reported At 05/13/23 09:45
Incident Date 05/13/23 09:45
Incident Code VAND : VANDALISM
Location 6381 121ST AVE NW, RAY, ND 58849
Court None
Ereferral County None
Disposition Forward to Investigations
Disposition Date/Time 05/17/23 12:33
Review for Gang Activity None
Jail Incident Report

Other Reports About This Case
§0-IN2302008 Investigative Report 4958 - Dickerson, Amber Charges Filed

Offense Information

Offense CRIMINAL MISCHIEF - WILLFUL-DAMAGE (C00484)
Statute 12,.1-21-05(1}(b)

NIERS Code 290 - Destruction/Damage/Vandalism of Property
Counts 4

Offense Details 6B FELONY
Include In NIBRS Yes

Completed Yes
Bias Motivation None (no bias)
Location Other/Unknown

Entry Forced No

Dispatch Information

CFS # 2023025616

Location 6381 1215T AVE NW, RAY, ND 58849

Incident Code VAND : VANDALISM

Occurred Between 05/13/23 09:45:03 and

Assigned 09:47:49 Enroute 09:51:10 OnScene 10:21:25 Completed 21:15:38

Reporters

Case SO-IR2302008 Page 1 of 22
EXHIBIT

A

Case 1:23-cr-00118-DMT Document 41-1 Filed 12/06/23 Page 2 of 22

000795

Name eT Teck eee ene

Involvement Initial Reporter

Sex Male

boB ae

Address
wD 58801

Home Phone (000) 572-gfaas

Home Phone (701) 5704
Spouse Phone (701) 770g
Report Time 05/13/23 09:45:03
How Reported Phone

From Phone = (701) 570-2905
Contact Phone

Comments

Other Names
Name BASIN ELECTRIC POWER COOPERATIVE
Involvement Business
Sex
DOB
Address 218 58TH STW
WILLISTON, ND 58801
Business Phone (701) 557-5396

Comments

Name GRAHAM, DANIEL
Invelvement Employee
Sex Male
DOB

Address

Cell Phone (719) 233
Business Phone (701) 557
Comments

Name Spree
Involvement Employee
Sex Male

DOB

Address

Cell Phone
Comments

(701) 7708

Name
involvement
Sex

DOB
Address

Employee
Male

WILLISTON, ND 58801
CellPhone (605) 216.aggan
Comments

Case SO-IR2302008 Page 2 of 22
Case 1:23-cr-00118-DMT Document 41-1 Filed 12/06/23 Page 3 of 22

000796

Name *MOUNTRAIL WILLIAMS ELECTRIC COOPERATIVE
involvement Business

Sex

pOB :

Address 218 58TH STW ow

WILLISTON, NBD 58801
Business Phone (701) 577-65

Comments

Name "
Involvement Employee

Sex Male
DOB
Address

CellPhone (918) 968-5084
Comments

Name SMITH, CAMERON MONTE
Involvement Arrestee

Sex Male

DOB

Address

Comments

Name ner: EERE
Invelvement Employee

Sex Male

DOB :

Address

CellPhone (701) 202-6047 ,
Comments

Vehicles i

58 01-6929

Involvement Suspect
Plate 273LXW OR

az
oy

Description 2005 Black Honda Element
Owner MILLER, MARIE Liv

i,
Call Details 2

Arrestee

SMITH, CAMERON MONTE
Male, DORE

Complainant

12.1-21-05(1}(b) - CRIMINAL MISCHIEF - WILLFUL-
DAMAGE (C00484} - B FELONY

SMITH, CAMER
Male, DO

Offender

ON MONTE 50

12.4-21-05(1)(b) - CRIMINAL MISCHIEF - WILLFUL-
DAMAGE (C00484) - B FELONY

Case SO-IR2302008

Page 3 of 22
Case 1:23-cr-00118-DMT Document 41-1 Filed 12/06/23 Page 4 of 22

00197

SMITH, CAMERON MONTE
Male, DOB

Victim

12,1-21-05(1)(b) - CRIMINAL MISCHIEF - WILLEUL-
DAMAGE (C00484) - B FELONY

BASIN ELECTRIC POWER COOPERATIVE

218 58TH ST W
WILLISTON, ND 58801

(701) 557-5396 Business

MOUNTRAIL WILLIAMS ELECTRIC COOPERATIVE

218 58TH ST W
WILLISTON, ND 58801

(701) 577-3765 Business

Other

12,1-21-05(1)(b) - CRIMINAL MISCHIEF - WILLFUL-
DAMAGE (C00484) - B FELONY

12.1-21-05(1)(b) - CRIMINAL MISCHIEF - WILLEUL-
DAMAGE (C00484) - B FELONY

Male,

312 18TH STE
WILLISTON, ND

(000) 872 Home
(000) 572 Home
(701) 770 Cell

Unknown, DOB
ASTORIA, OR 97103

Employee: 12.1-21-05(1)(b) - CRIMINAL MISCHIEF -
WILLFUL-DAMAGE (C00484) - B FELONY

Vehicle Owner: 12,1-21-05(1)(b) - CRIMINAL MISCHIEF
~ WILLFUL-DAMAGE (C00484) - B FELONY

TIOGA, ND
(701) 648-9748 Cell

GRAHAN, DANIEL
Male

Case SO-IR2302008

Page 4 of 22
Case 1:23-cr-00118-DMT Document 41-1

Filed 12/06/23 Page 5 of 22

000198

WILLISTON, ND 588010000
(701) 770-{ie
(000) 7744
(701) 770.8 fees

ale, DOB Salize

WILLISTON, ND 58801
(605) 216-8287 Cell

MURPHY, WILLIAM HOLDEN
Male

(918) 96S GRaaapell

Female a
4728 119TH RD NW LOT 112
EPPING, ND 58843
(512) 590- Cell
(701) 568 Work

UR NEXT TOWING

TIOGA, ND 58852

Male, aaa

WILLISTON, ND 58801-6929

(701) 202-Q2 cell

" Male, DORE

WILLISTON, ND 58801

(906) 553g e ||

Vehicles

(701) 648M@Bpeusiness

273LXW OR - (Suspect)
2005 Black Honda Ele
Owner SER

Primary Narrative By Justin Roberts, 05/14/23 17:05

On 05/13/2023, at approximately 0945 hours, Sgt. Roberts was assigned to a vandalism call for service. Emplayees
of Basin Electric Power Cooperative and Mountrail Williams Electric Cooperative were reporting one of their shared
substations had been shot to include transformers and other equipment. The location of the substation was described
as being at the intersection of Hwy 2 and 121st Ave. NW.

Case SO-IR2302008

Page 5 of 22
Case 1:23-cr-00118-DMT Document 41-1 Filed 12/06/23 Page 6 of 22

000459

Sgt. Roberts arrived on scene at approximately 1021 hours. Sgt. Roberts observed the substation to be on the
southwest comer of the intersection of Hwy 2 and 121st Ave. NW. There were two entrances to the substation, both off
of 121st Ave. NW. Sgt. Roberts observed a couple of vehicles parked near the southern most entrance. Sgt. Roberts
pulled up to the gate. Sgt. Roberts observed the following:

- A large site enclosed with chain iink fencing topped with barbed wire

- Asign hanging on the perimeter fence near the gate, which read, BASIN ELECTRIC POWER COOPERATIVE, A
Touchstone Energy Cooperative, WHEELOCK SUBSTATION, 230/LISKILOVOLT, 6381 121st AVE NORTHWEST
WHEELOCK, ND 58849, FOR EMERGENCY CALL 800-339-5616

- A blue in color building within the fenced area

- Several electrical apparatus’ throughout the fenced in area

- Several employees of both electrical companies surveying damage

Sgt. Roberts noted an overcast sky with steady rainfall, and a strong, sustained wind upon arrival. Sgt. Roberts
exited his patrol vehicle and noted the ground (gravel) to be soft with standing water in low areas.

Sgt. Roberts spoke with C @gaetvigemaee

a Gagan Wap employees of Basin Electric Power Cooperative
(BEPC), Q@BEEPyave a brief overview of what he found in regards to the damaged electrical apparatus’ belonging to
BEPC. Sgt. Roherts spoke to an employee (identity unknown) of Mountrail Williams Electric Cooperative (MWEC), who
advised their safety guy (AEBS@RRB) cid not want law enforcement to enter the fenced in area before his arrival.
Miggpedvised he had taken photographs of the damage to various electrical aparatus’ throughout the site. He
provided Sgt. Roberts with 18 photographs. See attached, It should be noted, the photographs taken by MERE are
close up shots of damage to the equipment. Sgt. Raberts’ attached photographs are aif taken fram outside of the
fence.

Sgt. Roberts began searching for evidence by walking along the outside of the east fence, This fence runs north and
south, each end meeting at the north and south entrance roads to the site. Sgt, Roberts located the following during
this initial sweep:

- Partial footprint on the ground directly to the north of the entrance road, and to the east of the perimeter fence
(Photograph was taken)(Photographs of M@gigaae and M@IRRs boots were taken as known prints).

- Purple in color spray paint on the small diameter river rock that comprises the base of the site,

- The spray painted rocks were located just outside the east perimeter fence near the first of (6) green electrical boxes
that are located just inside the east perimeter fence.

- Painted on the rocks was a circle with unknown markings inside of it Just below (east) of the circle "XR". Next to
(north) of the "XR", "DAPL" with an unknown marking or writing to the left (south) of the "D". Photographs taken of the
spray painted markings.

- (4) 450 Bushmaster shell casings outside of the east perimeter fence in the river rock. All four located within one or
two feet of each other. The shell casings were in line with a transformer that had been shot, owned by BEPC,
Sgt. Roberts retrieved one of the (4) casings to examine the primer. Noted, was a struck primer with blue in color
primer sealant around the primer. Photographs taken.

- Awhite in color broken Zip-Tie that appeared fresh (un-weathered) located outside the east perimeter fence adjacent
to the above shell casings in the grassy area just outside of the river rock. Photographs taken,

- Disturbances in the river rock to the north of the shell casings outside the east perimeter fence. Photographs taken.

- Tire tacks on the north entrance road that approach the gate, make a loop, then return toward the exit (12ist Ave.
NW). Photographs taken.

it should be noted, while Sgt. Roberts was walking the east fence line he heard a vehicle traveling on 12ist Ave,
NW. Based on Sgt. Roberts’ experience, 121st Ave, NW sees very little traffic as there are no residences in the area or
direct routes to oil sites. At the time of this call, Williams County had also placed read restrictions on county roads
limiting weight to 20,000lb max, further limiting the amount of traffic that may use 121st Ave. NW. Sgt. Roberts turned
toward the road and observed a mid-sized tow truck traveling northbound on 121st Ave. NW toward Hwy 2. Sgt,
Roberts took a photograph of the truck.

Sgt. Roberts was advised by dispatch that a task force member associated with the FBI wished to speak with him
(Sgt. Roberts) about the incident he was investigating. Sgt. Roberts returned to his patrol vehicle and contacted Task
Force Officer (TFO) Shaun Schatz. Sgt. Roberts informed TFO Schatz of his findings up to the current peint in the
investigation.

Sat. Roberts contacted Williams County Sheriff's Office Detective Amber Dickerson to advise her of the situation,
Case SO-IR2302008 Page 6 of 22

Case 1:23-cr-00118-DMT Document 41-1 Filed 12/06/23 Page 7 of 22

000200

Det. Dickerson advised she would be responding.

Sgt. Roberts made contact with Dg Yaz Bs Substation Supervisor with BEPC. Yg@
Roberts in his patrol vehicle and provided the following information:

joined Sgt.

~ He has been with BEPC for 8 1/2 years
- He is the Substation Supervisor for BEPC
- The Wheelock Substation is a dual station with both BEPC and MWEC providing services

- At approximately 0627 hours, on 05/13/2023, multiple alarms were sent to Western Area Power Association's
(WAPA) dispatch center indicating a unit had tripped

~ He was notified by WAPA within minutes of the units tipping

- They have had issues in the past with moisture causing alarms, and with the continuous rain in the area it was a
possibility the rain had caused the trip

- BEPC employees started a response by ioading equipment to address the alarms

~ Approximately 1 hour after the initial call he received, a second call was made indicatin
multiple alarms that their unit had tripped

- This escalated concerns as it is unlikely moisture would cause both units to trip

- Having both units trip would cause power fo the main building to go out

- BEPC and MWEC employees responded arriving at approximately 0945 hours, on 05/13/2023

- The alarms occur once a certain level of oil is lost from the electrical apparatus’ so it is likely the shooting teok place
a few hours prior to the alarm at 0627 hours

gQ MWEC was also receiving

Yarochawicz provided the following information about the known damage to BEPC's electrical apparatus’ at the time
of the interview:

~ SPX Power Transformer to include the Conservator Tank, Radiators, Bushings, and LTC Control (All of the
aforementioned equipment are different parts of a single electrical apparatus)
- Specifics: Several bullet strikes to Conservator Tank with no known penetration on initial inspection
(12) total radiators on unit, (5-6) with known damage causing substantial oil leaks
(3) known Bushings with damage
LTC Controt with bullet strike and penetration leaving fragmented bullet shards behind
- A rough estimate of the value of damaged equipment is dependent on whether full replacement is needed or repairs

can be made. If repairs can be made the value is in the high hundreds of thousands of dollars. Ii replacement is
needed, the value is in the mid millions of dollars,

While speaking with Va gf he received a call from a BEPC Security employee named Daniel G
During part of the conversation, Y placed his phone on speaker and let G@ggiggexnow Sgt. Roberts could
hear the conversation. C&P was describing to Y@RREERRER a similar incident to the shooting at the Wheelock

Substation at a BEPC substation in Carpenter, SD (East River Substation). QEmescribed markings that had been
left by suspects as follows:

-"DAPL” as well as “Extreme Resistance", and circle with an hour glass inside of it.

The markings described by
Wheelock Substation,

pappear to be consistent with the markings located by Sgt. Roberts at the

Sgt. Roberts was met by Detectives Dickerson and Bernier. Sgt. Roberts advised them of his findings up te the
current point in the investigation. Sgt. Roberts assisted detectives with the following:

- Showing them the evidence located outside of the east perimeter fence.

- A walk through of the interior of the site, inside the fence where damage was pointed out by the respective
companies, documented and evidence collected.

TFO Schatz arrived on scene and joined Sgt. Roberts and detectives on the interior of the site.

Sgt. Roberts made contact with Dg} ggg General Manager of MWEC. H&@iA joined Sot. Roberts in his patrol
vehicle and provided the following information:

- At approximately 0726 hours, on 05/12/2023, MWEC dispatch received multiple alarms.
- MWEC employees responded and found the site had been shot.

- MWEC contacted the Upper Missouri River Regional Dispatch center at approximately 0945 hours to report the
Case S0-IR2302008

Page 7 of 22
Case 1:23-cr-00118-DMT Document 41-1 Filed 12/06/23 Page 8 of 22

000201

damage.

HEaeen provided the following information about the known damage to MWEC’s electrical apparatus’ at the time of
the interview:

- Distribution System, specifically (3) Voltage Regulators, all of which had received bullet strikes and penetration with
a replacement cost of $55,000 per unit

~ An exterior light with a bullet strike and penetration with a replacement value of $250.00

~ Transformer and Bushings with builet strikes and penetration with a replacement value of $1,000,000

~ Current Transformer with bullet strikes (unknown penetration) with a replacement value of $10,000

~ 115,000 Volt Circuit Breaker Door with bullet strike and penetration

It should be noted, the above values were a rough estimate at the time of the interview, and Haugen advised they
could change once more time had passed and the damage could be assessed further.

Sgi. Roberts joined Det. Dickerson in their unmarked vehicle, Det. Dickerson observed what appeared to bea
vehicle to the southeast of the substation, and notified Sgt, Roberts of her observation. Sgt. Roberts, using a pair of
binoculars provided by Det. Dickerson, looked at the vehicle and observed what appeared to be a smaller SUV witha
luggage compartment on ihe roof. Sgt, Roberts is familiar with this area and knew there were no residences in the
vicinity. From the substation, it appeared the SUV was in the midcle of a field.

Sgt. Roberts drove his patrol! vehicle south on 121st Ave. NW to get a closer look at the above vehicle, Sgt. Roberts
came to a prairie trail, AKA 63rd St. NW, that went east from 121st Ave. NW. Sgt. Roberts observed tire tracks in the
approach to the prairie trail, Sgt, Roberts observed the trail to have several areas of Standing water as it continued east
toward the SUV. ft appeared as though the SUV was facing west on the north side of the trail. Sgt. Roberts estimated
the SUV was approximately 1/2 to 3/4 of a mile east of 121st Ave. NW. Due to the original incident involving a .450
Bushmaster, and the wide open terrain, Sgt. Roberts returned to detectives who were parked closer to the substation
and advised them of his findings. it was determined Sgt. Roberts and Cpl. Tougas would attempt to get to the SUV
using the prairie trail (63rd St. NW.)

Deputies drove the prairie trail in their respective squad cars. Four wheel drive was required to not get stuck. As
Sgt. Roberts approached the SUV he observed it to be a black in color Honda Element hearing Oregon license plate
273 LXW with an enclosed luggage container attached to the roof rack. Deputies drew their duty handguns and
cleared the Honda. The Honda was found to be unoccupied but contained several items throughout the entire interior
of the Honda visible from the windows. The doors to the Honda were found to be locked. Sgt. Roberts confirmed the
Honda was stuck on the north side of the prairie trail in a crop field, facing west. Sgt. Roberts observed floor mats
under the front tires in what appeared to be an attempt by the driver to get the Honda unstuck, Sgt. Roberts observed
the majority of the exterior of the Honda to be covered in wet and dry mud. Sgt. Roberts photographed the exterior of
the Honda. Dispatch advised the Honda was registered to a Maa Milf Oregon.

Sgt. Roberts located, on the ground outside of the drivers side of the Honda, a USDA Forest Service Proof of Payment
Hangtag #46723914. The "Date In", "Date Out", and "No. Days Paid" portions were completed as follows:

- "Date In” hand written in black ink "5-12"
- “Date Out" hand written in black ink "5-13"
- "No. Days Paid" hand written in black ink "4"

It should be noted, the hangtag was wet from the elements and when Sgi. Roberts picked it up to examine it, the
"Detach and place stub following posted instructions” portion tore away and blew a short distance away. Sgt. Raberts
was able to retrieve it, and observed the same ID # as above as well as the same fill in portions as above, however
these sections were not completed. Sgt. Roberts photographed both portions and placed them back on the ground.

Sgt. Roberts and Cpl. Tougas returned 121st Ave. NW to advise detectives of their findings. Detectives advised
deputies they had spoken to the Williams County States Attorney's Office, and after explaining the findings of the
investigation, & search would be conducted of the abandoned Honda Element. The landowner was contacted and
permission was granted to investigate the Honda on his property.

Sgt. Roberts along with Detectives Dickerson and Bernier, and Cpl. Tougas drove out to the Honda. Cpl. Tougas
made entry through the drivers window by breaking it with a department issued entry tool, Sgt. Roberts remained in his
patrol vehicle while the entry and search were being conducted in an attempt to dry off and warm up. Sat. Roberts was

Case SO-IR2302008 Page 8 of 22

Case 1:23-cr-00118-DMT Document 41-1 Filed 12/06/23 Page 9 of 22

000202

informed correspondence was located bearing the name Cameron Smith with a year of birth, 1974. Sgt. Roberis
checked the local law enforcement database and found nothing matching a Cameron Smith with a year of birth of 1974,
Sgt. Roberts was also advised an empty soft sheil gun case was located, a owners manual for a Bushmaster rifle, and
a "Cheaper Than Dirt" receipt for the purchase of .450 Bushmaster ammunition with name MgE? Miige as the
purchaser. At this point, the search was stopped due to the amount of items within the Handa and the inclement
weather, and detectives requested a tow be contacted.

Sgt. Roberts contacted (RPK QHEBp with Affordable towing to ask who in Williams County had a four wheel drive tow
truck. Les provided the owner name and phone number for UR Next Towing out of Tioga. The name provided was
R@ABP“with a phone number of 701-6489 Sgt. Roberts contacted Richard for the first time at approximately 1458
hours, on 05/13/2023, Before Sgt. Roberts could finish telling RQBBEP about the situation, R@GBBP advised he knew
what Sgt. Roberts was talking about as he'd been contacted to tow the Honda earlier in the day. Richard continued
saying he ended up giving a male a ride from the scene, to the Microtel inn and Suites in Williston, ND. Richard
advised he had received two different phone cails fromm passerby's who were calling on behalf of a male requesting
assistance in the area of the Honda. Richard advised he did not have the male's name or phone number but descrbed
him as a SOish year old, with partial gray hair, round face, approximately 200lbs with nice equipment. Richard advised
the male had a backpack and some duffel bags with him. told the male he wouldr't be able to tow him until
Monday when it was dry so instead he provided the male with a ride to Williston. Sgt. Roberts requested Richard
respond to the scene to attempt to tow the Honda out of the field and bring it to a secure impound lot. aaa agreed to
respond.

It should be noted, it was at this time Sgt. Roberts recalled taking a picture of a mid-sized tow truck earlier in the
investigation as it drove northbound on 121st Ave. NW. Sgt. Roberts checked his photographs and observed the time
stamp to be 1056 hours, on 05/13/2023.

it was determined Cpl. Tougas would remain with the Honda awaiting the tow truck. Detectives and Sat. Roberts
responded to Williston in an attempt to locate the male that was given a ride from Ree

Upon arrival to Williston, Sgt. Roberts responded to an area south of the Microtel inn and Suites which is located at
3820 4th Ave. W. Williston, ND 58801. Sgt. Roberts parked out of sight of the Microtel. A short time fater, detectives
advised an individual named Cameron Smith had checked into the Microtel and was provided room 123. Detectives
obtained a Canadian passport image used for check-in from hotel staff bearing the name Cameron Monte Smith with a
date of birth of 09-30-1974,

It was determined that contact with Cameron was preferred to be made outside of his room. With the assistance of
hotel staff, a call was made asking Cameron to come to the front desk, Cameron answered his hotel room phone and
advised he would come to the front. Sgt. Roberts along with Det. Bernier remained in an employee area outside of view
of the front lobby, Det. Dickerson was in a position she could see the lobby and would indicate to Sgt, Roberts and Det.
Bernier when Cameron was approaching. After a lengthy period of time, Cameron had still not come to the front lobby
area. It was then determined the application process for a search warrant would be started. Sgt. Roberts left the
Microtel and responded to an off site location along with several members of the on duty Williston Police Department
patrol shift to discuss possible tactics in executing the search warrant,

While the search warrant was being applied for, Detective Dickerson radioed to Sgt. Roberts that Cameron had
come out of his room, and was detained. Sgt. Roberts respanded to the Microtel front lobby area. Det. Bernler was
sitting with Cameron at a table in the lobby area. Det. Bernier requested handcuffs. Det. Bernier placed handcuffs on
Cameron to the front of his body. Sgt. Roberts checked for tightness and double locked the handcuffs. Sgt. Roberts did
this while Cameron remained in a seated position at the small table.

Sgt. Raberts stood by in the lobby area awaiting the search warrant. Deputies Gregory and Price arrived on scene to
transport Cameron to Williams County Corrections on a Felony B Criminal Mischief detainer,

The search warrant was granted and Sgt. Robert read over it prior to beginning the search. Sgt. Roberts along with
a couple other deputies entered room 123 and cleared it, ensuring there were no other occupants, None were found,
Sgt. Roberts assited in searching the room. See evidence inventory for further details,

Sgt. Roberts cleared from the Microtel and went off duty.

See Detectives Dickerson and Bernier’s, and Cpl. Tougas' reports for further information on their involvement.

See supplemental report by Sgt. Roberts for details on subsequent investigations that took place on 05/14/2023.
Case SO-IR2302008 Page 9 of 22

Case 1:23-cr-00118-DMT Document 41-1 Filed 12/06/23 Page 10 of 22

000203

Supporting Narrative By Tanner Tougas, 05/14/23 10:09

1, On 5/13/2023 at approximately 1333, Williams County Sheriff's Office Cpl Tougas arrived at 6381 121st Ave NW
Ray, ND to assist Sgt Roberts with a vandalism he was currently investigating. The location had reported transformers
and other equipment had been shot overnight. Cpl Tougas was on scene for a short time when he was told that his
assistance was not needed. Cpl Tougas departed the scene. A short while later, Cpl Tougas was requested to return
due to on scene units noticing a suspicious vehicle in a field nearby. Cpi Tougas was back en route to the area,

2. At approximately 1357, Cpl Tougas arrived south of the aforementioned location and met with Sgt Roberts who was
with Detectives Dickerson and Bernier. While awaiting instructions, Cpl Tougas noticed a vehicle to the Southeast in
the field, The vehicle appeared to be black in color and a smaller SUV. Cpl Fougas was briefed by Sgt Roberts that
both would check on the vehicle while detectives provided cover from the road. A short while later, Cpl Tougas and Sgt
Roberts proceeded to the vehicle, Please note, the access to the vehicle was by a section iine/praitie trail that border
two fields. On maps, the section line/prairie trail showed 62rd St NW,

3, Upon Cpl Tougas' and Sgt Roberts’ arrival to the vehicle, they identified the vehicle as a black 2005 Honda Element
bearing OR plate: 273 LXW. They checked the vehicle and found it unoccupied. Cpl Tougas heard radio traffic from
dispatch advising the registered owner was M@ggu Mai Cpl Tougas recalled from visually clearing the vehicle that
male clothing items were inside, namely large shoes/hoots that appeared to be for hiking. The vehicle was obviously
stuck in the field, just off of the section line. Cpl Tougas also noticed tire impressions leading from the vehicle to the
East, indicating a Westbound travel of the vehicle before it became stuck in the mud,

4, After clearing the vehicle, Cpl Tougas continued Eastbound following the tire impressions. A short distance East
from the vehicle, Cpl Tougas noticed recent tire impressions that appeared have turned around in a left hand manner
that was a short distance East of the Honda Element. Cpl Tougas inspected these impressions and was unable to find
any distinguishing tire tread pattern. Cpl Tougas continued Eastbound. Cpl Tougas later came to a section, believed to
be the approximate location of 63rd St NW and 120th Ave NW, where Cpl Tougas was unable to continue, There, Cpl
Tougas observed the tire impressions continued from the field further East. Sgt Roberts was advised of this
information.

5. Cpl Tougas returned to Sgt Roberts and detectives who were on 121st Ave NW. Cpl Tougas heard conversations of
getting pictures of the fire tread that was on the vehicle. Cpl Tougas returned to the vehicle a short time later and was
able to acquire photographs of the front passenger's side and rear driver's side tire tread pattern. Cpl Tougas was
unable to get photographs of the other two tire tread patterns due to being completely covered in mud and their
positioning within the field. Cp} Tougas was then instructed by Sgt Roberts to remain with the vehicle.

6. Shortly thereafter, Sgt Roberts, Detective Dickerson, and Detective Bernier arrived at the vehicle. Cpl Tougas was
advised a search of the vehicle would be conducted. Cpl Tougas acquired his breaching tool kit. When advised by
detectives, Cpi Tougas checked all doors and found them to be locked. After verifying the vehicle was secured and no
key was visible nearby, Cpl Tougas forced entry by breaking the driver's door window with his breaching tool. Cpl
Tougas unlocked the vehicle by pressing the driver's door power unlock button. Cpl Tougas secured his breaching kit
in his patrol vehicle while detectives conducted their search. Cp! Tougas later photographed the destroyed window,
broken glass on the floorboard, and broken glass on the ground in the field.

7. Cpl Tougas later heard items located provided probable cause linking the vehicle to the investigation. The vehicle
was to be towed to the Williams County Cold Storage. Cpl Tougas proceeded to the road and awaited UR Next Towing
to arrive. Upon their arrival, Cpl Tougas was advised by UR Next Towing of the following information:

-The tow company was contacted on two occasions by two different individuals.

-Both calls spoke about coming across a male on County Road 15 (119th Ave NW) who stated he was stuck in a field,
-They had responded to assist the mate, arriving at the field access around 1009, where they told the male they would
not provide service due to the muddy conditions caused by recent rain.

-They provided the male a ride to Microtel hotel in Williston, ND.

-The male was identified as “Cam Smith” with a phone number of 647-559-4amr

-They stated the information was already told to Sgt Roberts when he requested the tow for the vehicle,

Please note, Cp! Tougas photographed the phone screen that had “Cam Smith's” phone number. The picture was sent
to Sgt Roberts via text message.

8. Cpl Tougas followed UR Next Towing to the vehicle. Due ta the muddy conditions, the tow truck became stuck on

Case SO-IR2302008 Page 10 of 22
Case 1:23-cr-00118-DMT Document 41-1 Filed 12/06/23 Page 11 of 22

000204

two occasions. After same time, the operator informed Cpl Tougas he was having tire chains delivered to the scene to
get unstuck. Cpl Tougas further conversed with the driver. During this conversation, Cpl Tougas found out the
following information:

-When they had initially responded to assist “Cam Smith” and told him they would not attempt the recovery, “Cam
Smith” said he would pay "triple".

-"“Cam Smith” said he was in the area visiting his girlfriend,

“Cam Smith" was asked why he was in the field to which he replied he was trying to find a place to camp for the night.
-They believed "Cam Smith" spent the night in his vehicle while it was stuck.

-They described “Cam Smith" as a "weird" individual but did mention coming across "weird" individuals regutarly in their
call outs.

9. Upon the arrival of the tire chains, Cpl Tougas proceeded to the road. Cpl Tougas transported the tire chains,
equipment, and the other individual to the tow truck, Col Tougas then sat with the Honda Element.

10. At approximately 1758, Cpl Tougas was contacted by Deputy Isenhower, Deputy Isenhower advised he was en
route to relieve Cpl Tougas. Deputy Isenhower arrived a short time later. Cpl Tougas, using evidence tape, created a
makeshift window over the driver's door. Cpl Tougas did this to prevent items from coming out of the vehicle ctue to
wind during transportation. Cpl Tougas photographed the window, Cpl Tougas then informed UR Next Towing
operators that he was clearing, Deputy Isenhower was taking over, and provided them with Deputy Isenhower's phone
number. They advised they understcod.

11. At approximately 1843, Cpl Tougas cleared the scene after transferring custody of the scene to Deputy Isenhower.

Supporting Narrative By Hayden Kuchler, 05/17/23 06:44

On Sunday, May 14th 2023, at approximately 1239 hours, Deputy Kuchler was on patrol for the Williams County
Sheriffs Office. Deputy Kuchler was assisting Sgt. Roberts and Detectives Bernier and Dickerson with follow up from
an investigation from May 13th, 2023. Sgt. Roberts and Detectives Bernier and Dickerson were reviewing video
surveillance at Walmart (4001 2nd Ave W, Williston, ND 58801), Deputy Kuchler learned that a search warrant had
been executed on May 13th, 2023 at the Microtel Inn and Suites (8820 4th Ave W, Williston ND 58801). During the
search warrant several bags were not located. Sgt, Roberts and Detectives Bernier and Dickerson were reviewing the
surveillance to see if the the subject, Cameron Smith left the hotel with the bags,

Deputy Kuchler arrived and met Sgt. Roberts and Detectives Bernier and Dickerson in the asset recovery office at
Walmart. Deputy Kuchler stood by while the footage was reviewed. Deputy Kuchler observed a male pulling a cart,
travel north from the Microtel Inn and Suites across the Walmart parking lot. The male turns and walks eastbound on
42nd St W. The male walks across the intersection of 2nd Ave. W. The male goes out of view once he crosses the
intersection.

Deputy Kuchler and Sgt. Roberts left Walmart, and went to the business strip on the east side of the Walmart
parking lot to see if any of the businesses there had surveillance cameras. None of the businesses had surveillance
cameras. Deputy Kuchler and Sgt. Roberts returned back to Walmart and met with Detectives Bernier and Dickerson.
Detectives Bernier and Dickerson asked Sgt. Roberts and Deputy Kuchler to go look for surveillance cameras on the
east side of 2nd Ave W in the area where the male was last seen. Sgt. Roberts informed Deputy Kuchler that he was
at Peirce Auto Body (115 34st St W) reviewing footage with an employee. Deputy Kuchler responded, Deputy Kuchler
and Sgi. Roberts did not observe the mate in the footage. Detectives Bernier and Dickerson were at Astro Chem-Lab
(4102 2nd Ave W) reviewing footage. Deputy Kuchler and Sgt. Roberts responded. The male is seen on Astro Chem-
Lab camera walking eastbound pulling the cart. The male is walking on the south side of the street (42nd St E). The
male crosses the street, and walks directly to a dumpster on the north side of the street located in the parking lot of
Hollen Auto-body (124 42nd St W). The male gets close to the dumpster but then turns onces he reaches it and walks
back to the south side of the street, After observing this, it appeared the male was trying to locate a dumpster to discard
something. Sgt. Roberts showed Deputy Kuchler a picture of the bags in question. Deputy Kuchler observed a gray
duifel bag with red outlining on it and a bright blue duffel bag with neon green outlining.

Deputy Kuchler and Sgt. Roberts left Astra Chem-Lab and began to search the area for dumpsters. Deputy Kuchter
and Sgt. Roberts checked dumpsters north on the frontage road along 2nd Ave W, and the dumpsters on the west side
of Williston Garden Apartments {10 42nd St E). Deputy Kuchler and Sgt. Roberts checked a trailer outside of the Astro
Chem-Lab and the dumpsters on their property. Deputy Kuchler and Sgt. Roberts did not locate anything. Sgt. Roberts
informed Deputy Kuchler of updates received by Detectives Bernier and Dickerson. Deputy Kuchler and Sgt. Roberts
were informed the male was viewed walking eastbound on 42nd St E pulling the cart with the bags still visible.

Case SO-IR2302008 Page 11 of 22
Case 1:23-cr-00118-DMT Document 41-1 Filed 12/06/23 Page 12 of 22

000205

Approximately 7 minutes later, the male is waiking westbound still on 42nd St E pulling the cart but the bags are now
gone. The male was walking on the south side of the street.

Deputy Kuchler and Sgt. Roberts drove to the east side of the Williston Garden Apartments and stopped to check
ihe northern most set of dumpsters on the east side. Deputy Kuchler observed three dumpsters. One on the north side
and two on the south side. The dumpster on the north side was overflowing with garbage. The dumpsters on the south
side did not look as full. Sgt. Roberts was searching the closest dumpster to the parking lot on the south side. Deputy
Kuchier went to the eastern most dumpster on the south side. Deputy Kuchter did not observe the bags Inside. Deputy
Kuchler went to the overflowing dumpster on the north side. Deputy Kuchler opened the dumpster and started taking
trash bags out. Deputy Kuchler observed on the bottom of the dumpster a gray bag with red on it, Deputy Kuchler
informed Sgt. Roberts. Deputy Kuchler removed the bag from the dumpster and set it on the edge of the dumpster.
Deputy Kuchler noted the bag was heavy enough to contain something based on the weight of the bag as she removed
it, Sgt. Roberts unzipped the bag and Deputy Kuchler observed the upper part of a firearm, to include the barrel, and
an optic and several ioase rounds of ammunition inside. Sgt. Roberts notified Detective Bernier. Deputy Kuchler and
Sgt. Roberts continued to look for the blue duffel bag. Deputies walked down to the further south dumpster but did not
locate anything inside, Deputies returned to where the gun was located. Deputy Kuchler searched further inside of the
dumpster where the gun was located. Deputy Kuchler located a blue duffel bag with neon green outlining. Deputy
Kuchler tried to lift the bag out of the dumpster but it was too heavy. Sgt. Roberts removed the bag.

Deputy Kuchier retrieved the serial number off the upper portion of the firearm located in the gray duffel bag
(BK5091719}, and asked dispatch to check ft. Dispatch advised the gun was clear in NCIC.

Detectives Bernier and Dickerson took custody of both duffel bags.
This concludes Deputy Kuchier's involvement in this investigation.

End of Report.

Supporting Narrative By Justin Roberts, 05/17/23 12:57

On 05/14/2023, at approximately 0911 hours, Sgt. Roberts contacted Lloyd Richard Bratrsovsky (Richard) with UR
Next Towing to complete follow up on the case from the day prior.

Richard provided the following information:

- At approximately 0856 hours, on 05/13/2023, he received a phone call from a Ma (unknown last name)(phone
number 512-590 requesting a tow for a male she had located on 129th Ave. NW approximately 1 1/2 miles
south of Hwy 2 whose vehicle was stuck.

- M@advised the male said his phone was dead.

- Ri@aggpoelieves M@Bpworks at Farmers Insurance in Ray, ND.

- While responding to the request for the tow, he received a second call (phone number 906-553-Gagey at
approximately 0938 hours, from an unknown male requesting a tow for a male he had located at the same location
Mary had described.

? told the second caller he was already on his way to assist the male,

RE Arrived and located the male standing on an approach off of 119th Ave. NW.
- The male got into R@ERRPs tow truck and they drove south on 119th Ave, NW, west on 62nd St. NW, and north on
12ist Ave. NW stopping at the prairie trail AKA 63rd St. NW.

- After a short assessment of the situation, Rigggggtold the mate he would not be attempting to tow the vehicle due ta
the muddy conditions.

~ RiGG@#Phad the impression the male wanted his vehicle towed badly as he offered R@BEBW triple his normal rate
without knowing REBBEBEs standard rate.

- The male asked about having his vehicle towed to a Honda dealership as he believed the transmission was
inoperable.

~ The male requested RISHEB? and his son, CE, who was assisting with the tow, walk to the vehicle to grab
belongings.

-R ‘old the male he would not be walking te the vehicle but would wait.

- The male walked to his vehicle, spent time gathering items, and returned after resting on a few occasions on the way
back,

- It took approximately 45 minutes for the mate to go to his vehicle and return.

Case SOQ-IR2302008 Page 12 of 22
Case 1:23-cr-00118-DMT Document 41-1 Filed 12/06/23 Page 13 of 22

000206

- The male returned with several bags and a cart.

~ RGB described the bags as (1) blue/black duffel style bag approximately 2'x1'x1' that was noticeably heavy as he
assisted loading it into his tow truck. (1) Tan duffel style bag that was approximately 3' in length that was not as heavy
as the blue/black bag but contained something based on the way it bent and sagged as he was assisting loading it into
his tow truck. (1) orange duffel style bag that he assisted loading into his tow truck. (1) backpack style bag with a water
bottle.

- Once loaded, R@@Bg#ebegan driving toward Hwy 2, north on 121st Ave, NW with the mate in the eab.

- Richard noticed increased activity at the Wheelock Substation, to include Sgt. Roberts’ patrol vehicte.

- RGB and CHB talked about the activity.

~ The male did not join in the conversation,

- R@BBP drove the male to the Microtel Inn and Suites in Williston.

~ They did not make any stops prior to the Microtel.

- The male exited his tow truck and retrieved a luggage cart from the hotel.

- The male removed all of the above mentioned items from the tow truck and he pui them on the luggage cart.

- The male paid Richard $150.00 in cash (3) $50,00 bills in US Currency.

- Richard made a deal with the male to pay $150.00 up front and a second $150.00 after completion of the tow.

- The male retained possession of the vehicle's key.

+~R and his son left the Microtel.

-R did not get the mate's name or phone number.

- After speaking with Sgt. Roberts the day prior (Call that Sgt. Roberts made requesting Richard respond to tow the
Honda), he received a phone call from a restricted number.

- The call was from the male he drove to the Microtel.

- The male was asking if he could pay for the tow once completed on Monday with a credit card over the phone,

- The male told Richard he would leave the keys for the Honda at the front desk of the Microtel.

- This gave Richard the impression he would not see the male again.

- Richard told the male he would need a name and phone number so Richard could communicate with the male about
the tow.

- The male provided the name Cam Smith with a phone number of 647-559-§a@ which his son Cf logged into the
note section of his iPhone,

- REBBEP provided this information to Cpl. Tougas when he was with him during the tow of the Honda.

~ RR@Eabdid not tell Cam about law enforcement's involvement with his vehicle,

Sgt. Roberts did not recall a biue/black duffel bag or tan duffel bag during the search warrant executed at the
Microtel on the day prior, Sgt, Roberts contacted Detective Dickerson and advised her of his conversation with FER
Det. Dickerson advised she and Det. Bernier would respond to the Microtel to check camera footage.

Sgt. Roberts contacted M@igpat the number provided by RASEEER, Sgt. Roberts left a voice mail requesting a call
back, Shortly after, Sgt. Roberts received a phone call from M@gy. M@p provided her identifying information as May
alee Seg. Sgt. Roberts advised M@gjgpf the reason for the contact. Mi} provided the following information:

- She fives in Long Creek Subdivision.

- She works in Ray, ND.

- She uses 119th Ave. NW to get to Fiwy 2,

- She was traveling north on 119th Ave. NW.

~ It was raining cut.

~ She saw a male standing in the middle of the southbound lane of travel on 119th Ave. NW.

~ The male was waving his arms.

~ She slowed to a stop and rolled her winclow down partially.

- The male told her his truck was stuck on the other side of a hill to the west of 119th Ave. NW.
- She called TNT towing and was told to call UR Next Towing,

- The male approached her vehicle asking if she'd gotten a hold of a tow company.

- She told the male she needed to get ta work, and asked if he had a cell phone.

- The maie patted his pockets, then said his phone isn't working.

- She told the male she would call another tow company for him on her way to work,

~ She left the area, proceeding to work.

~ She got in touch with UR Next Towing.

- The male was wearing what she believed to be an Eddie Bauer, down Jacket, dark pants and boots.
~ She did not see any possessions with the male.

Sgt. Roberts contacted the second caller that contacted UR Next Towing. The male was identified as IgE 2 GRRE.
J provided the following information:

Case SO-1IR2302008 Page 13 of 22

Case 1:23-cr-00118-DMT Document 41-1 Filed 12/06/23 Page 14 of 22

000207

- He works for FedEx.

- He was on his normal route which takes him south of Hwy 2 on 119th Ave. NW,

- He was flagged down by a maie.

- The male told him his: vehicle was stuck,

- 39 called UR Next Towing for the male.

- Riga with UR Next Towing told him he already received a call about the mate and was responding.

~ Jacob left.

- The male was carrying a backpack style bag in his hand, and was wearing what he described as a spring coat.

Sgt. Roberts was contacted by Det. Dickerson. Det. Dickerson advised Cameron was seen on Microtel camera at
approximately 1150 hours, on 05/13/2023, leaving the hotel with a cart and what appeared to be a couple of bags. Sat.
Roberts received a text message of a still shot of the Microtel camera, Sat. Roberts observed the foliowing from the still
shois:

- Cameron pushing a luggage cart containing a blue in color bag, gray in color bag on top of the blue bag, ancl what
appears to be a folded up cart.

- Second still shot of Cameron, pushing a luggage cart, this view opposite of the first, showing the gray bag with a red
in cojor outiining consistent with the zipper area of the bag. The blue bag is not visible in this shot, and the cart is not
discernible.

Sgt. Roberts responded to the Microtel and met with Detective’s Dickerson and Bernier. Sgt. Roberts responded to
Walmart with detectives. Detectives, with the assistance of Walmart Asset Protection, located Cameron on a Walmart
camera crossing the parking lot from the Microte!, northbound to 42nd St. W. Cameron proceeds east on 42nd St. W.
before leaving the cameras view across 2nd Ave. W.

Deputy Kuchler had joined detectives and Sgt. Roberts at this point. Deputies responded to a small strip mall located
on the east side of Walmart's parking lot. The strip mall contains a Verizon store, Rent-A-Center and Game Stop. None
of the businesses had exterior cameras.

Sgt. Roberts proceeded to the east frontage road of 2nd Ave. W, south of 42nd St. W. in an attempt to locate
businesses with exterior cameras. Sgt. Roberts noted an exterior camera on the Pierce Auto Body shop. The camera
was directed at the east frontage road. Sgt. Roberts observed a male through an open garage door wiping down a
vehicle. Sgt. Roberts asked the male, identified as an employee of the shop, if the exterior camera worked, The
employee advised the camera does work but to view the footage he would have to respond to their main shop located
at 115 34th St. W., a couple blocks south of the north shop. The employee agreed to go to the main shop and show
Sgt Roberts the footage.

From the footage obtained at Walmart, Cameron was last on camera at approximately 1201 hours as he crossed
2nd Ave. W on 42nd St. W toward the east frontage road. Sgt. Roberts asked the shop employee to start their footage
playback around that time. Sgt. Roberts observed the footage until the camera time was approximately 1230 hours.
From the camer of 42nd St. W and 2nd Ave. W, to the camera on the north shop is approximately 5 blacks. It did not
appear Cameron walked south on the east frontage road,

Sgt. Roberts was contacted by Det. Dickerson who advised cameras were located on the exterior of Astro Chem-l ab
at 4102 2nd Ave. W. Detectives Dickerson and Bemier along with Sgt. Roberts responded to Astro Chem-Labs where
the were met by an employee, Astro Chem-Lab‘s cameras showed Cameron continuing east on 42nd St. then crossing
42nd St. toward a dumpster in the Hollen Auto Body shop parking lot. Cameron approached the dumpster, then turned
around, crossing back over 42nd St. It appeared Cameron was looking for a spot to throw something away,

Sgt. Roberts and Deputy Kuchler began checking garbage cans and dumpsters in the area. Nothing of evidentiary
value was located.

Det. Bernier advised Cameron was seen walking east on 42nd St. before leaving the Astro Chem-Labs camera view.
Cameron still had the cart with the bags. 7 minutes passed and Cameron was observed walking west on 42nd St. with
the cart but no bags.

Sat. Roberts and Deputy Kuchler responded to the Williston Garden Apartment Complex located at 10 42nd St. E.
This complex is across 1st Ave. W. from Astro Chem-Labs parking lot, and has several dumpsters. Sgt. Roberts and
Deputy Kuchier had previously checked the dumpsters on the complexes west side and south side finding nothing.

Case SO-]R2302008 Page 14 of 22
Case 1:23-cr-00118-DMT Document 41-1 Filed 12/06/23 Page 15 of 22

000208

Sgt. Roberts and Deputy Kuchier drove to the east side of the apartment complex. The complex has apartment
buildings on the interior of the property and garages bordering the exterior of the property. The garages on the far east
side of the property have two different dumpster locations. They are located between the sets of garages. Sot. Roberts
and Deputy Kuchler began searching the dumpsters closest to 42nd St. This dumpster location contained (3) smaller
dumpsters, (2) on the south side, and (1) on the north side. The north side dumpster was completely full. The two south
side dumpsters were mostly empty and clearly did not contain duffel bags. Deputy Kuchler advised Sgt. Roberts she
believed she located a bag in the north dumpster. Sgt. Roberts looked into the dumpster and observed a small portion
of what appeared to be a gray in color bag. The bag was located at the very bottom of the dumpster under several
bags of trash. Deputy Kuchler was able to retrieve the bag by moving trash and pulling it out. The bag appeared
consistent with the earlier provided photo, gray in color with a red zippered area. Sgt. Roberts unzipped the bag and
observed a barrel to a firearm with a flashlight attachment. Sgt. Roberts noted it was an AR style rifle with the lower
separated from the upper. Sgt. Roberts noted a couple loose reunds of .450 Bushmaster ammunition within the bag.

Sgt. Roberts notified Det. Bernier that the bag with a firearm was located. Detectives Bernier and Dickerson
responded to the dumpster. A short time later, Deputy Kuchier located a blue in color bag in the same dumpster as the
bag with the firearm. This bag was also buried under several trash bags and was consistent with the earlier provided
photo. Sgt. Roberts retrieved the bag from the dumpster noting it was very heavy. Sgt. Roberts began inventorying the
contents of the blue bag, most notably locating several magazines for a 450 Bushmaster, several rounds of .450
Bushmaster, and a handgun with several magazines and several boxes of ammunition. See evidence inventory for
further information on the contents of both bags located within the dumpster.

Custody of the duffel bags was taken by Detectives Dickerson and Bemier.

Sgt. Roberts cleared from the follow up call and returned to regular duty.

Case Forms
Arrest Form 5/13/23 for SMITH, CAMERON MONTE, 12,1-21-05(4)(b)
Supporting Narrative 5/14/23 by Tanner Tougas
Primary Narrative 5/14/23 by Justin Roberts
Supporting Narrative 5/17/23 by Hayden Kuchler
Supporting Narrative 5/17/23 by Justin Roberts
Victim Form for BASIN ELECTRIC POWER COOPERATIVE
Victim Form for MOUNTRAIL WILLIAMS ELECTRIC COOPERATIVE

Property / Evidence
Iter # Category Type Status Location Description
$O0-1R2302008-001 Digital In Digital Files Digital Photo -
20230513_142943
$0-IR2302008-002 Digital In Digital Files Digital Photo -
20230513_142948
$O-IR2302008-003 Digital In Digital Files Digital Photo -
20230513_142956
$0-IR2302008-004 Digital In Digital Files Digital Photo -
20230513 142958
§0-1R2302008-005 Digital In Digital Files Digital Photo -
20230513_143032(0)
SO-IR2302008-006 Digital in Digital Files Digital Photo -
20230513 143032
$O-IR2362008-007 Digital In Digital Files Digital Photo -
20230513_ 143033
$0-1R2302008-008 Digital in Digital Files Digital Phots -

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Case SO-IR2302008 Page 15 of 22
Case 1:23-cr-00118-DMT Document 41-1 Filed 12/06/23 Page 16 of 22

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liem # Category Type Status Location Description
SO0-IR2302008-009 Digital in Digital Files Digital Photo -
20230513_145113
$O0-1R2302008-010 Digital In Digital Files Digttal Photo -
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S0-IR2302008-011 Digital tn Digital Files Digital Photo -
20230513_145119
$0-1R2302008-012 Digital In Digital Files Digital Photo -
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$0-IR2302008-013 Digital In Digital Files Digital Photo -
20230513 145125
SO-IR2302008-014 Digital In Digital Files Digital Photo -
20230513 145129
$0-IR2302008-015 Digital In Digital Files Digital Photo -
20230513 145131
SO-IR2302008-016 Digital In Digital Files Digital Photo -
20230513_ 154519
$O-1R2302008-017 Digital in Digital Files Digital Photo -
20230513 163804
SO-IR2302008-018 Digital In Digital Files Digital Photo -
20230513 181900
$0-IR2302008-019 Destroyed / Physical Logged Article - ELECTRICAL
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SO-IR2302008-020 Destroyed / Physical Logged Article - ELECTRICAL
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SO-1R2Z302008-021 Digital In Digital Files Digital Phota -
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SO-IR2362008-022 Digital In Digital Files Digital Photo -
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$0-1R2302008-023 Digital In Digital Files Digital Photo -
20230513 _154438999 j
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Case SO-IR2302008

Page 16 of 22
Case 1:23-cr-00118-DMT Document 41-1 Filed 12/06/23 Page 17 of 22

060210

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Category

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Description

$0-IR2302008-028

$O-IR2302008-029

SO0-IR2302008-030

SO0-IR2302008-031,

S0-IR2302608-032

S0-IR2302008-033

S0-IR2302008-034

$0-1R2302008-035

30-IR2302008-036

S0-IR2302008-037

5O-1R2302008-038

SO-IRZ302008-039

SO-IR2302008-040

SO0-IR2302008-041

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$0-IR2302008-043

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os

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20230513 154602240 j
os

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os

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20230513 _ 154609513 _i
Os

Digital Photo -
20230513 154621557 i
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os

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Case SO-IR2302608

Page 17 of 22
Case 1:23-cr-00118-DMT Document 41-1 Filed 12/06/23 Page 18 of 22

000211

liem #

Category

Type

Status

Location

Description

SGO-IR2302008-044

50-IR2302008-045

30-IR2302008-046

S0-IR2302008-047

S$0-IR2302008-048

S50-IR2302008-049

S0-IR2302008-050

SO-/R2302008-051

S$0-IR2302008-052

SO-IR2302008-053

50-IR2Z302008-054

$0-IR2302008-055

$0-1R2302008-056

SO-IR2302008-057

SO0-IR2302008-058

$0-1R2302008-059

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20230513 _155057337_i
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os

Digital Photo -
20230513 155300275 j
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20230513 _155304445 j
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Case SO-IR2302008

Page 18 of 22
Case 1:23-cr-00118-DMT Document 41-1 Filed 12/06/23 Page 19 of 22

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ttem #

Category

Type

Status

Location

Description

50-1R2302008-060

50-IR2302008-061

$O-IR2302008-062

SO-IR2302008-063

S0-1R2302008-064

$0-1R2302008-065

SO-IR2302008-066

SO-1R2302008-067

30-IR2302008-068

SO-IR2302008-069

SO-1R2302008-070

SO0-IR2302008-071

SO-IR2302008-072

SO-IR2302008-073

50-IR2302008-074

3G0-1R2302008-075

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Case SO-IR2302008

Page 19 of 22
Case 1:23-cr-00118-DMT Document 41-1 Filed 12/06/23 Page 20 of 22

000213

item #

Category

Type

Status

Location

Description

SO0-IR2302008-076

50-1R2302008-077

S0-I1R2302008-078

SO-IR2302008-079

SO0-JR2302008-080

S0-1R2302008-081

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SO-1R2302008-083

S0-IR2302008-084

SO-1R2302008-085

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Case SO-IR2302008

Page 20 of 22
Case 1:23-cr-00118-DMT Document 41-1 Filed 12/06/23 Page 21 of 22

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Category

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Description

S0-IR2302008-092

SO-IR2302008-083

SO-IR2302008-094

$0-IR2302008-095

$0-IR2302008-096

50-IR2302008-097

SO-IR2302008-088

$0-1R2302008-099

S0-IR2302008-100

S0-]R2302008-101

$0-IR2302008-102

SO-IR2302008-103

$0-1R2302008.104

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SO-IR2302008-106

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Digital Photo -
20230513_ 162958937 i
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Digital Photo -
20230513_162959532_i
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Digital Photo -
20230513_163001433 i
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Digital Photo -
20230513_163002201_i
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20230513_163003602_i
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20230513 _163004536_i
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Digital Photo -
20230513_163008873_i
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20230513 _163010875_i
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Case SO-IR2302008

Page 21 of 22
Case 1:23-cr-00118-DMT Document 41-1 Filed 12/06/23 Page 22 of 22

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Item #

Category

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Description

S0O-IR2302008-108

SO-IR2302008-109

$O-IR2302008-110

SO-IR2302008-111

SO-IR2302008-112

$0-IR2302008-113

SQ-IR2302008-114

$0-1R2302008-115

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Digital Photo -
20230513_190505117_i
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Digital Photo -
20230513_190506151_j
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Digital Photo -
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Digital Photo -
20230513_ 190515592 i
OS

Digital Photo -
20230513_ 190616911 j
OS

Digital Photo -
20230513 _190631224 i
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Case SO-/R2302008

Page 22 of 22
